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 1 MELINDA HAAG (CABN 132612)
   United States Attorney
 2
   DAVID R. CALLAWAY (CABN 121782)
 3 Chief, Criminal Division

 4 BRIANNA L. PENNA (CABN 290444)
   JEFFREY SCHENK (CABN 234355)
 5 Assistant United States Attorneys

 6           150 Almaden Boulevard, Suite 900
             San Jose, California 95113
 7           Telephone: (408) 535-5061
             FAX: (408) 535-5066
 8           Brianna.penna@usdoj.gov

 9 Attorneys for United States of America
10
                                      UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                              SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                        )   Case No. CR-15-00226-EJD
                                                      )
15           Plaintiff,                               )   THE UNITED STATES’ AMENDED JURY
                                                      )   INSTRUCTIONS
16      v.                                            )
                                                      )   Trial Date:   August 25, 2015
17   DOUGLAS YORK,                                    )   Time:         9:00 a.m.
                                                      )   Courtroom:    Hon. Edward J. Davila
18           Defendant.                               )
                                                      )
19
             The United States respectfully provides the Court with an updated jury instruction to include an
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     instruction for Count Two of the Superseding Indictment. Depending on the evidence at trial, additional
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     instructions may be required and leave is respectfully requested to include additional instructions as may
22
     become appropriate.
23
     DATED: August 14, 2015                               Respectfully submitted,
24
                                                          MELINDA HAAG
25                                                        United States Attorney

26                                                        _________/s/_______________
                                                          BRIANNA L. PENNA
27                                                        JEFFREY SCHENK
                                                          Assistant United States Attorneys
28

     THE UNITED STATES’ AMENDED JURY INSTRUCTIONS
     CR-15-00226-EJD                         1
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 1                        DISPUTED INSTRUCTION NO. ___
       RE: FALSE IMPERSONATION OF FEDERAL OFFICER OR EMPLOYEE – ELEMENTS
 2                           GOVERNMENT OFFERED
 3
            The defendant is charged in Count Two of interstate telecommunications harassment in violation
 4
     of 47 U.S.C. 223(a)(1)(C). In order to be found guilty of that charge, the government must prove each
 5
     of the following elements beyond a reasonable doubt:
 6
            The defendant (1) in interstate or foreign communications (2) made a telephone call or utilized a
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     telecommunications device (3) without disclosing his identity (4) intending to abuse, threaten, or harass
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     any person at the called number or who received the communications.
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28 There were no model jury instructions found for this particular statute. See 47 U.S.C. 223(a)(1)(C).

     THE UNITED STATES’ AMENDED JURY INSTRUCTIONS
     CR-15-00226-EJD                         2
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